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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                       IESHA MCNAIR                                  )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:24-CV-00028-(LDH)(JRC)
                                                                     )
 2000 ROCKAWAY PARKWAY ASSOCIATES, BELT                              )
   ROCK REALTY LLC, EMPIRE SUPERMARKET                               )
     INC. AND MCDONALD'S CORPORATION                                 )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SEE ATTACHED RIDER

                                           FOR SUMMONS INFORMATION FOR:
                                           2000 ROCKAWAY PARKWAY ASSOCIATES, BELT ROCK REALTY LLC, EMPIRE
                                           SUPERMARKET INC. AND MCDONALD'S CORPORATION



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Glen H. Parker, Esq.,
                                           Parker Hanski LLC
                                           40 Worth Street, Suite 602
                                           New York, New York 10013
                                           (T) 212-248-7400 ext. 15 and (F) 212-248-5600
                                           ghp@parkerhanski.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date: 1/4/2024                                                                  s/
                                                                                           Signature of Clerk or Deputy Clerk
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 Civil Action No. 1:24-CV-00028

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    ---------------------------------------------------------------x
    IESHA MCNAIR                                                       1:24 CV 00028

                                                Plaintiff,
                        -against-                                      RIDER FOR SUMMONS

    2000 ROCKAWAY PARKWAY ASSOCIATES,
    BELT ROCK REALTY LLC, EMPIRE
    SUPERMARKET INC. AND MCDONALD'S
    CORPORATION

                                                Defendants.
    ---------------------------------------------------------------x



     1. 2000 ROCKAWAY PARKWAY ASSOCIATES
        C/O ISJ MANAGEMENT CORPORATION
        110 WEST 34TH STREET, 9TH FLOOR
        NEW YORK, NY 10001

     2. BELT ROCK REALTY LLC
        C/O JENEL MANAGEMENT CORP
        275 MADISON AVENUE, SUITE 1100
        NEW YORK, NY 10016

     3. EMPIRE SUPERMARKET INC.
        C/O THE CORPORATION
        1804 RALPH AVENUE
        BROOKLYN, NY11236

     4. MCDONALD'S CORPORATION
        C/O THE PRENTICE-HALL CORPORATION SYSTEM, INC.
        80 STATE STREET
        ALBANY, NY 12207




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